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UAET (02-2008)




                 Unopposed Application for Extension of Time to Answer Complaint
                     Attach this form to the Application for Extension of Time to Answer Complaint event.



C ASE AND D EADLINE INFORMATION



Civil Action No.: 2:24-cv-00343-JRG
Name of party requesting extension: Cloudflare, Inc.
Is this the first application for extension of time in this case?                         ✔ Yes
                                                                                              No
            If no, please indicate which application this represents:                         Second
                                                                                              Third
                                                                                              Other ___________
Date of Service of Summons: 06/10/2024
Number of days requested:                        30 days
                                              15 days
                                            ✔ Other _____
                                                    45 days
New Deadline Date: 08/15/2024 (Required)


A TTORNEY FILING APPLICATION INFORMATION



            Full Name: Steven Callahan
            State Bar No.: 24053122
            Firm Name: Charhon Callahan Robson & Garza, PLLC
            Address: 3333 Lee Parkway, Suite 460
                         Dallas, Texas 75219


            Phone: 469-587-7240
            Fax: 214-764-8392
            Email: scallahan@ccrglaw.com
                  A certificate of conference does not need to be filed with this unopposed application.
